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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §         CASE NO. 1:11-CR-142
                                                 §
 ESMERALDA GARZA                                 §


                           MEMORANDUM ORDER
              ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                        ON DEFENDANT’S GUILTY PLEA

        After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

 the Honorable Zack Hawthorn, United States Magistrate Judge, made and filed Findings of Fact and

 Recommendations regarding the Defendant’s plea of guilty to Count One of the Information in the

 above-numbered case. The Magistrate Judge accepted the Defendant’s guilty plea, recommends that

 the Defendant be adjudged guilty of the offenses to which she pleaded guilty, and recommends that

 the court accept the Defendant’s plea agreement.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The Court accepts the Defendant’s plea, but defers acceptance of the plea agreement

 until the Court has reviewed the presentence report.

        It if further ORDERED that, in accordance with the Defendant=s guilty plea and the

 magistrate judge=s findings and recommendation, the Defendant, Esmeralda Garza, is adjudged

 GUILTY of the offenses alleged in Count 1 of the Information, in violation of 18 U.S.C. § 4.

        SIGNED this the 31 day of July, 2012.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge

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